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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
19-CR-10196-MLW

                              UNITED STATES OF AMERICA


                                               v.

                                       PAUL VOTANO

                                       ORDER AND
                                  FINAL STATUS REPORT

                                        March 6, 2020
KELLEY, M.J.

       Defendant had a final status conference today, March 6, 2020. The parties agree

that the case should be sent to the District Court for a pretrial conference. The parties

do not yet know if this case will be resolved by way of plea. Mr. Votano, who is presently

in state custody, is facing a gun charge in Massachusetts state court that carries a

fifteen-year minimum mandatory sentence. He is also facing charges in state court in

Maine. The parties are working on a global resolution to the cases.

       Discovery is complete. Expert discovery will be provided by the government thirty

days before trial and by defendant, 15 days before trial. Defendant will not raise a

defense of insanity or public authority. If a trial is held it will take about a week.

       With the agreement of the parties, this court finds and concludes, pursuant to the

provisions of 18 U.S.C. § 3161(h)(8) and Section 5(b)(7) of the Plan for Prompt

Disposition of Criminal Cases in the United States District Court for the District of

Massachusetts (Statement of Time Limits Adopted by the Court and Procedures for

Implementing Them, Effective December 2008), that the interests of justice, i.e., for
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defendant and the government to continue preparing the case, outweigh the best

interests of the public and the defendant for a trial within seventy days of defendant’s

arraignment.

         Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time

for the period of March 6, 2020 to the date the parties appear before the District Court

under the Speedy Trial Act.1



                                                            / s /Page Kelley
                                                       M. Page Kelley
                                                       UNITED STATES MAGISTRATE JUDGE




  1
      The parties are hereby advised that under the provisions of Rule 2(b) of the Rules for United States Magistrates
in the United States District Court for the District of Massachusetts, any party may move for reconsideration by a
district judge of the determination(s) and order(s) set forth herein within ten (10) days after receipt of a copy of this
order, unless a different time is prescribed by this court or the district judge. The party seeking reconsideration shall
file with the Clerk of this Court, and serve upon all parties, a written notice of the motion which shall specifically
designate the order or part thereof to be reconsidered and the basis for the objection thereto. The district judge, upon
timely motion, shall reconsider the magistrate's order and set aside any portion thereof found to be clearly erroneous
in fact or contrary to law. The parties are further advised that the United States Court of Appeals for this Circuit has
indicated that failure to comply with this rule shall preclude further appellate review. See Keating v. Secretary of
Health and Human Services, 848 F.2d 271 (1st Cir. March 31, 1988); United States v. Emiliano Valencia-Copete, 792
F.2d 4 (1st Cir. 1986); Park Motor Mart, Inc. v. Ford Motor Co., 616 F.2d 603 (1st Cir. 1980); United States v. Vega,
678 F.2d 376, 378-379 (1st Cir. 1982); Scott v. Schweiker, 702 F.2d 13, 14 (1st Cir. 1983); see also Thomas v. Arn,
474 U.S. 140, 106 S. Ct. 466 (1985).
